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                              NITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF MISSISSIPPI
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA                                                                 PLAINTIFF

V.                                                 CIVIL ACTION NO.: 3:20-CV-415-DPJ-FKB

THE REAL PROPERTY KNOWN AS 115                                                        DEFENDANT
ROSEDOWNE BEND MADISON, MS
39110

                              ORDER REQUESTING SURREPLY

       This matter is before the Court on a motion to dismiss [19] filed by Claimants Kristin

DiBiase and Theodore Marvin DiBiase, Jr. In their Reply [34] to the Government’s Response in

Opposition [30], the Claimants have raised, for the first time, a question whether Temporary

Assistance to Needy Families (TANF) funds paid to Familiae LLC qualify as “benefits” under 18

U.S.C. § 666. Reply Br. [34] at 4–7 (citing Fischer v. United States, 529 U.S. 667, 677, 681–82

(2000)). The Government has had no opportunity to address this issue.

       It is generally “the practice of [the Fifth Circuit] and the district courts to refuse to

consider arguments raised for the first time in reply briefs.” Gillaspy v. Dall. Indep. Sch. Dist.,

278 F. App’x 307, 315 (5th Cir. 2008). That said, the Fifth Circuit “ha[s] not comprehensively

identified all the circumstances under which a district court may rely on [such] arguments,”

though normally the non-movant should receive “an adequate opportunity to respond before

ruling.” Id. (addressing Fed. R. Civ. P. 56(c)) (citation omitted).

       Here, Claimants raise an important issue that merits consideration after full briefing. The

Court, therefore, instructs the Government to file a surreply addressing whether “the test

established by Fischer and its progeny” has been met in this case, as addressed in Section II of
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Claimant’s reply. Reply Br. [34] at 5. That surreply should be filed no later than September 15,

2021.

        SO ORDERED AND ADJUDGED this the 1st day of September, 2021.


                                            s/ Daniel P. Jordan III
                                            CHIEF UNITED STATES DISTRICT JUDGE




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